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                                            PAGES 1 - 16

                    UNITED STATES DISTRICT COURT

                   NORTHERN DISTRICT OF CALIFORNIA

                 BEFORE THE HONORABLE WILLIAM ALSUP

ORACLE AMERICA, INC.,              )
                                   )
             PLAINTIFF,            )
                                   )
  VS.                              ) NO. C 10-03561 WHA
                                   )
GOGGLE, INC.,                      )
                                   ) SAN FRANCISCO, CALIFORNIA
             DEFENDANT.            ) WEDNESDAY
                                   ) FEBRUARY 9, 2011
___________________________________) 11:00 O'CLOCK A.M.

                      TRANSCRIPT OF PROCEEDINGS

APPEARANCES:

FOR PLAINTIFF:             MORRISON & FOERSTER LLP
                           755 PAGE MILL ROAD
                           PALO ALTO, CALIFORNIA 94304-1018
                     BY:   RICHARD S. BALLINGER, ESQUIRE
                           ROMAN A. SWOOPES, ESQUIRE
                           MARC DAVID PETERS, PH.D., PARTNER
                           MICHAEL A. JACOBS, PARTNER
                           DIANE C. GABL, ATTORNEY AT LAW
                           650-251-3974

AND

                        ANDREW C. TEMKIN, CORPORATE COUNSEL
                        500 ORACLE PARKWAY
                        M/S 50P7
                        REDWOOD SHORES, CALIFORNIA 94065
FURTHER APPEARANCES ON NEXT PAGE.




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1    FURTHER APPEARANCES:

2    ALSO FOR PLAINTIFF:

3                               BOIES, SCHILLER & FLEXNER LLP
                                1999 HARRISON STREET
4                               SUITE 900
                                OAKLAND, CALIFORNIA 94612
5                         BY:   STEVEN C. HOLTZMAN, ESQUIRE

6

7    FOR THE DEFENDANT:

8                               KING & SPALDING LLP
                                1185 AVENUE OF THE AMERICAS
9                               NEW YORK, NEW YORK 10036-4003
                          BY:   BRUCE W. BABER, ESQUIRE
10                              SCOTT T. WEINGAERTNER, ESQUIRE

11   AND

12                              KING & SPALDING LLP
                                100 N. TRYON STREET
13                              SUITE 3900
                                CHARLOTTE, NORTH CAROLINA 28202
14                        BY:   STEVEN T. SNYDER, ESQUIRE

15   AND

16                               RENNY HWANG, ASSOCIATE LITIGATION
                                 COUNSEL
17                               GOOGLE
                                 1600 AMPHITHEATRE PARKWAY
18                               MOUNTAIN VIEW, CALIFORNIA 94043

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20

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22

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24

25
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1    FEBRUARY 9, 2011                                  11:00 O'CLOCK    A.M.

2

3                              P R O C E E D I N G S

4                 THE CLERK:    FOR THE RECORD, CALLING CASE 10-3561.

5    IT'S ORACLE AMERICA, INC. VERSUS GOOGLE, INC., ON FOR MOTION TO

6    COMPEL.

7                 COUNSEL, CAN YOU PLEASE STATE YOUR APPEARANCES FOR

8    THE RECORD?

9                 MR. JACOBS:    YES.   FOR PLAINTIFF ORACLE AMERICA,

10   MICHAEL JACOBS, MARK PETERS, SEVERAL COLLEAGUES, YOUNGER

11   COLLEAGUES IN THE BACK FROM MORRISON & FOERSTER AND STEVE

12   HOLTZMAN FROM BOIES SCHILLER & FLEXNER.

13                THE COURT:    ALL RIGHT.

14                MR. WEINGAERTNER:     GOOD MORNING, YOUR HONOR.      SCOTT

15   WEINGAERTNER OF KING & SPALDING FOR DEFENDANT GOOGLE. HERE WITH

16   BRUCE BABER, KING & SPALDING, RANDY HWANG OF GOOGLE AND STEVE

17   SNYDER ALSO FROM KING & SPALDING.

18                MR. JACOBS:    AND I SHOULD HAVE INTRODUCED ANDREW

19   TEMKIN FROM ORACLE, SIR.

20                THE COURT:    WELCOME TO YOU, TOO.

21                WE'RE HERE FOR A COUPLE OF THINGS.      I WOULD LIKE TO

22   START WITH THE ISSUE OF WHETHER OR NOT THE DISCLOSURES ARE

23   ADEQUATE UNDER OUR LOCAL RULES, UNLESS YOU'VE REACHED AN

24   AGREEMENT.

25                MR. JACOBS:    WE DID, YOUR HONOR.    IT MAY NOT SURPRISE
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1    YOU GETTING US IN THE ROOM TOGETHER WAS PRODUCTIVE.

2                THE COURT:    WELL, THEN, LET'S HEAR THE AGREEMENT.

3                MR. JACOBS:    THE AGREEMENT IS THAT BY FEBRUARY 18TH

4    BOTH SIDES WILL FURTHER SUPPLEMENT THEIR INFRINGEMENT

5    CONTENTIONS AND NONINFRINGEMENT CONTENTIONS WITH RESPECT TO THE

6    CONCERN THE OTHER SIDE RAISED.

7                TO GO DOWN A LEVEL OF DETAIL, WE HAVE EXPRESSED A

8    CONCERN WITH THE LEVEL OF TECHNICAL DETAIL IN GOGGLE'S

9    NONINFRINGEMENT CONTENTIONS.     WHY IS THIS LIMITATION NOT PRESENT

10   IN THE SOURCE CODE WHERE IN THE INFRINGEMENT CONTENTIONS WE'VE

11   DELINEATED THE SOURCE CODE WHERE THAT LIMITATION CAN BE FOUND?

12               GOGGLE HAS AGREED TO GIVE IT THEIR BEST CURRENT SHOT

13   AT ARTICULATING WHY THAT LIMITATION IS NOT PRESENT IN THAT CODE

14   ITSELF, ON THE ASSUMPTION THAT THAT CODE IS OPERATING ON THE

15   HANDSETS.

16               RECIPROCALLY GOOGLE EXPRESSED A CONCERN THAT WE HAD

17   NOT ARTICULATED SUFFICIENTLY THE BASIS FOR OUR BELIEF THAT THE

18   GOOGLE -- THAT THE ANDROID CODE THAT IS ON THE GOOGLE PUBLIC

19   ANDROID WEBSITE IS, IN FACT, THE CODE THAT IS PRESENT ON THE

20   HANDSETS THAT WOULD REPRESENT THE DIRECT INFRINGEMENT IN CASES

21   OF INDIRECT INFRINGEMENT.

22               SO BY FEBRUARY 18TH, WE WILL BOTH BE SUPPLEMENTING

23   AND GIVING IT OUR BEST CURRENT SHOT WITH RESPECT TO THE OTHER

24   SIDE'S CONCERNS.

25               WE FURTHER AGREED THAT WE WILL DO ANOTHER UPDATE OF
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1    OUR CONTENTIONS AMPLIFYING ON EVIDENCE THAT HAS BEEN DEVELOPED

2    IN THE INTERIM ON APRIL 1ST.

3               SO I THINK WE'RE BOTH SATISFIED THAT WE'VE MADE A LOT

4    OF PROGRESS HERE, AT LEAST, AND DON'T NEED THE COURT'S

5    INTERVENTION AT THIS TIME ON THAT, ON THE ISSUE OF OUR

6    INFRINGEMENT CONTENTIONS AND THEIR NONINFRINGEMENT CONTENTIONS.

7               THE COURT:    SO PROPERLY STATED?

8               MR. WEINGAERTNER:     YES, YOUR HONOR.

9               THE COURT:    ALL RIGHT.    WELL, GOOD.    THANK YOU FOR

10   MAKING THAT AGREEMENT.    I APPRECIATE IT.

11              IS THERE ANYTHING MORE I CAN DO FOR YOU TODAY?

12              MR. JACOBS:    WE HAD FURTHER BRIEFED CONCERNS WITH

13   EACH OTHER'S INTERROGATORY RESPONSES. WE HAD ENOUGH TIME TO

14   DISCUSS TWO OF THOSE, ONE IMPORTANT ONE, ONE THAT WAS IMPORTANT

15   TO EACH SIDE.   AND WE MADE ENOUGH PROGRESS IN RESOLVING THOSE

16   THAT WE DON'T THINK WE NEED THE COURT'S INTERVENTION ON

17   INTERROGATORIES AT THIS TIME.

18              WE BOTH AGREED THAT WHAT WE REALLY NEED TO BE DOING

19   IS ENGAGING BETTER WITH EACH OTHER IN ATTEMPTING TO RESOLVE

20   THESE DISAGREEMENTS AND EXPLAINING WHAT IS REALLY BOTHERING THE

21   OTHER SIDE AND NOT ASKING THE COURT TO CALL THESE BALLS AND

22   STRIKES AT THIS POINT.

23              THE COURT:    AGREED?

24              MR. WEINGAERTNER:     YES, YOUR HONOR.     WE'RE IN

25   AGREEMENT WITH THAT.
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1                THE COURT:    ALL RIGHT. SO DOES THAT TAKE CARE OF

2    EVERYTHING THAT WAS TEED UP FOR TODAY?

3                MR. JACOBS:     IT DOES, YOUR HONOR.

4                MR. WEINGAERTNER:    YES, YOUR HONOR.

5                THE COURT:    HAVE YOU TAKEN ANY DEPOSITIONS IN THIS

6    CASE?

7                MR. JACOBS:     NOT YET, YOUR HONOR.

8                THE COURT:    WELL, DON'T WE HAVE A DISCOVERY CUTOFF

9    COMING UP SOON?    RIGHT?    NOT SOON, BUT LOOKS LIKE IT WILL BE

10   JULY 29 OF THIS YEAR.

11               YOU KNOW I WILL NOT EXTEND IT.

12               MR. WEINGAERTNER:    YES, YOUR HONOR.

13               MR. JACOBS:     WE KNOW, YOUR HONOR.

14               THE COURT:    SO YOU BETTER GET CRACKING.      I KNOW WHAT

15   WILL HAPPEN. THERE WILL BE GNASHING OF TEETH.        AND THEN, YOU'LL

16   BLAME ME, SAY HOW UNREASONABLE THAT JUDGE IS.

17               MR. JACOBS:     WOULDN'T THINK OF IT, YOUR HONOR.

18               THE COURT:    BUT, YOU KNOW, IT'S YOUR OWN FAULT.     YOU

19   NEED TO GET CRACKING.

20               PLEASE DON'T GO FOR THE

21   WE-GOT-TO-KNOW-EVERYTHING-TILL-WE-DO-ANYTHING APPROACH. I KNOW

22   BOTH.   I KNOW THIS IS THE WAY IT IS. YOU'LL SAY:

23                     "WE CAN'T TAKE A SINGLE DEPOSITION UNTIL WE KNOW

24               EVERY SINGLE DOCUMENT."

25               NO.   TAKE THE DEPOSITIONS WITH 8O PERCENT OF THE
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1    DOCUMENTS AND THE 20 PERCENT, IF THEY MATTER, WELL, TAKE THEM

2    AGAIN.   AND MAKE THE OTHER SIDE PAY FOR THE COST OF THE

3    DEPOSITION IF THEY STONEWALLED.

4                BUT I LIKE TO SEE THE CASE MOVING ALONG. DEPOSITIONS,

5    THAT'S WHERE YOU WILL FIND A LOT OF THE INFORMATION.         PLUS, I

6    AGREE THE DOCUMENTS USUALLY TELL THE STORY, TOO.

7                MR. JACOBS:    WE WILL TAKE THAT TO HEART, YOUR HONOR.

8                THE COURT:    HOW ABOUT E-MAILS?    HAVE THEY BEEN

9    PRODUCED YET?

10               MR. JACOBS:    YES, YOUR HONOR.    BOTH SIDES HAVE MADE

11   CONSIDERABLE ELECTRONIC AND NONELECTRONIC PRODUCTIONS.            WE WERE

12   TOLD TODAY WE PRODUCED A TERABYTE.       WE DIDN'T REALIZE THAT.

13               THE COURT:    WHAT'S THAT?

14               MR. JACOBS:    A LOT.

15               THE COURT:    WHAT IS A TERABYTE?

16               MR. JACOBS:    A TERABYTE IS A --

17               THE COURT:    IS THAT MORE THAN A BILLION?

18               MR. JACOBS:    A TERABYTE IS A --

19               THE COURT:    A MILLION MILLION?

20               NO, THAT WOULDN'T -- I DON'T KNOW WHAT IT WOULD BE.

21   THAT'S VERY LARGE.

22               MR. JACOBS:    IT'S VERY LARGE.

23               THE COURT:    HOW TO COULD ANYONE READ ALL THAT

24   INFORMATION?

25               MR. WEINGAERTNER:    THAT'S WHAT WE WERE WONDERING,
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1    YOUR HONOR.

2               THE COURT:    WHAT?

3               MR. WEINGAERTNER:     THAT'S WHAT WE WERE WONDERING,

4    YOUR HONOR.   WE HAD A DISCUSSION ABOUT THAT.

5               THE COURT:    CAN I ASK YOU A QUESTION ABOUT THIS CASE?

6    MAYBE I SHOULDN'T.

7               MR. JACOBS:    NO, GO AHEAD.

8               THE COURT:    I'M JUST WONDERING ABOUT THE THEORY

9    SINCE -- I DON'T KNOW ENOUGH ABOUT THIS TO SAY, BUT SOME PEOPLE

10   WOULD HAVE THOUGHT THAT JAVA WAS IN THE PUBLIC DOMAIN AND THAT

11   NOBODY OWNED IT, BECAUSE MANY PEOPLE HAVE BEEN HEARING ABOUT

12   JAVA FOR 30 YEARS, SO HOW COULD ANYBODY OWN IT?

13              MR. JACOBS:    WELL, IT DEPENDS ON WHAT "IT" IS, YOUR

14   HONOR.

15              THE COURT:    ALL RIGHT.

16              MR. JACOBS:    SO, FOR EXAMPLE, THE JAVA PROGRAMMING

17   LANGUAGE, WE'RE NOT ASSERTING THAT WE OWN THAT PROGRAMMING

18   LANGUAGE FOR PURPOSES OF THIS CASE.      BUT WE ARE ASSERTING,

19   OBVIOUSLY, WITH RESPECT TO THE PATENTS THAT WE HAVE PATENT

20   RIGHTS.

21              WE WERE JUST TALKING ABOUT --

22              THE COURT:    PATENT RIGHTS ON WHAT?

23              MR. JACOBS:    ON PATENTS THAT HAPPEN TO HAVE ARISEN

24   FROM THE INNOVATIONS ASSOCIATED WITH JAVA.

25              THE COURT:    HOW IS THAT DIFFERENT FROM JUST USING THE
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1    JAVA CODE ITSELF?

2               MR. JACOBS:    WELL, THE JAVA CODE -- SO THE JAVA CODE

3    ITSELF IS NOT IN THE PUBLIC DOMAIN.      THE JAVA CODE ITSELF IS

4    LICENSED UNDER OPEN SOURCE LICENSES THAT HAVE THEIR OWN BENEFITS

5    TO ORACLE AND TO THE OPEN SOURCE COMMUNITY.

6               GOOGLE HAS NOT AVAILED ITSELF OF THOSE OPEN SOURCE

7    LICENSES. IT CHOSE A DIFFERENT LICENSING PATH WITH ANDROID,

8    SO --

9               THE COURT:    SEE, I DON'T KNOW ENOUGH ABOUT WHAT THAT

10   "OPEN SOURCE" MEANS, SO I HAVE A FEELING I SHOULD PROBABLY JUST

11   LET IT LIE.   BUT SINCE I LET YOU HAVE A MOMENT, LET'S HEAR FROM

12   THE OTHER SIDE, SO YOU HAVE EQUAL TIME.

13              MR. WEINGAERTNER:     WELL, THANK YOU, YOUR HONOR.

14              WE'RE ACTUALLY GLAD TO HEAR MR. JACOBS, I BELIEVE,

15   TAKE THE POSITION THAT THE JAVA LANGUAGE WASN'T PROTECTED,

16   BECAUSE I THINK THERE WAS AN OPEN ISSUE ABOUT THAT.

17              WE WERE ACTUALLY UNDER THE IMPRESSION THAT THEY WERE

18   TAKING THAT POSITION.    WE'RE ACTUALLY TRYING TO SORT OUT EXACTLY

19   WHAT THEIR POSITIONS ARE, AND WE'RE GLAD THAT YOUR HONOR RAISED

20   THIS ISSUE, BECAUSE "JAVA" IS A TERM THAT IS USED EXTREMELY

21   BROADLY IN THIS CASE TO COVER LANGUAGE, TO COVER PLATFORM.

22              AND I THINK THEY WANT IT TO COVER PATENTS, ALTHOUGH I

23   THINK WE'RE ON THE SAME PAGE AS YOUR HONOR THAT THEY ARE --

24              THE COURT:    I'M NOT ON ANY PAGE.      PLEASE DON'T SAY

25   THAT. DON'T SAY THAT. I DON'T KNOW ENOUGH ABOUT THIS TO BE ON
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1    ANY PAGE. SO I JUST ASKED THE QUESTION.

2                MR. WEINGAERTNER:     OKAY.   LET ME REPHRASE THAT.

3    WE'RE ALSO NOT ON THE SAME PAGE AS YOUR HONOR.

4                THE COURT:    ALL RIGHT.    AT LEAST YOU ASKED THE SAME

5    QUESTION.   ALL RIGHT.

6                ALL RIGHT. SO I NEED TO ALERT YOU ALL WHILE I GOT YOU

7    HERE THAT STARTING MARCH 7TH -- DID I SEND OUT SOMETHING ON THIS

8    ALREADY?

9                MR. JACOBS:    I DON'T --

10               THE COURT:    ALL RIGHT.    STARTING MARCH 7TH I WILL BE

11   IN A LARGE GANG CASE THAT WILL -- CRIMINAL PROSECUTION -- THAT

12   WILL PROBABLY GO SIX MONTHS, FOUR MONTHS, SIX MONTHS, SOMEWHERE

13   IN THERE.

14               SO IF YOU ARE GOING TO FILE ANY MOTIONS, I MAY HAVE

15   TO ASK YOU TO DO A PROCEDURE WHEREBY YOU CAN'T FILE ANY MOTIONS

16   UNLESS YOU GET PERMISSION IN ADVANCE.

17               SO LET ME ASK YOU:     DO EITHER OF YOU HAVE MOTIONS

18   THAT YOU ARE CONTEMPLATING?       IF YOU DO, I MIGHT AS WELL DEAL

19   WITH IT RIGHT NOW.

20               MR. BABER:    AGAIN, YOUR HONOR, IF I MAY.

21               THE COURT:    SURE.   COME ON UP.

22               MR. BABER:    YES.    BRUCE BABER FROM KING & SPALDING.

23               WE ARE CONTEMPLATING AN EARLY MOTION FOR SUMMARY

24   JUDGMENT ON THE COPYRIGHT COUNT.       THERE'S SEVEN PATENTS ASSERTED

25   AND TWO COPYRIGHTS, AND WE BELIEVE THAT THE COPYRIGHT CLAIM
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1    SHOULD FAIL, AND WE ARE PREPARING AN EARLY MOTION ON THAT.

2                THE COURT:    IS THIS SOMETHING THAT COULD BE EASILY

3    CURED BY PLEADING AROUND THE PROBLEM?

4                MR. BABER:    NO, YOUR HONOR.    IT HAS NOTHING TO DO

5    WITH THE PLEADING.     IT HAS TO DO WITH THE SUBSTANCE OF THE

6    CLAIM.   I'M HAPPY TO GO INTO IT IN AS MUCH DETAIL AS YOU LIKE.

7    WE THINK IT'S SOMETHING THAT CAN'T BE CURED.        IT'S JUST THAT --

8    IN FACT, IT RELATES TO ONE OF THE ISSUES YOU JUST RAISED, WHICH

9    IS THE "JAVA PROGRAMMING LANGUAGE," AS YOU PUT IT, THERE ARE

10   CERTAIN PIECES OF THE ANDROID THAT ARE THERE SO THAT PROGRAMS

11   WRITTEN IN THE JAVA LANGUAGE WILL RUN RIGHT.

12               THAT'S THESE API'S.     OKAY?   SO THAT --

13               THE COURT:    WHAT IS AN API?

14               MR. BABER:    IT'S AN APPLICATION PROGRAMMING

15   INTERFACE, WHICH BASICALLY ALLOWS ONE COMPUTER SOFTWARE PROGRAM

16   TO SAY TO ANOTHER ONE:

17                   "DO THIS FOR ME."

18               OKAY?   IT MAKES A CALL, AND IT ASKS THE OTHER PROGRAM

19   TO PERFORM A FUNCTION.

20               AND IN JAVA PROGRAMMING LANGUAGE IT HAS THESE

21   COMMANDS.   IT SAYS:

22                       "GO ASK THIS TO DO THAT.     GO ASK THIS OTHER

23               THING TO DO SOMETHING ELSE."

24               AND THOSE, THERE ARE SOME PIECES OF THOSE KINDS OF

25   JAVA API'S THAT ARE IN THE ANDROID THAT ARE THERE SO THAT
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1    PROGRAMS IN THE JAVA LANGUAGE WILL RUN CORRECTLY.         AND THAT'S

2    WHAT THEY BASE THE COPYRIGHT INFRINGEMENT CLAIM ON, PRIMARILY.

3                THE COURT:    IS THIS A SUMMARY JUDGMENT MOTION?

4                MR. BABER:    YES, YOUR HONOR, IT IS.

5                THE COURT:    WELL, HERE'S WHAT YOU OUGHT TO DO. DON'T

6    FILE THAT YET. FILE A THREE-PAGE PRECIS, P-R-E-C-I-S.

7                AND IF IT'S -- I WON'T SAY -- I WILL IF IT'S GOT

8    ENOUGH PLAUSIBILITY THAT I THINK I CAN WORK IT IN.         I WON'T SAY

9    THAT -- THAT DOESN'T MEAN IT WILL BE GRANTED. IT JUST MEANS IT'S

10   IN THE BALLPARK OF PLAUSIBILITY, THEN WE WILL SET A SCHEDULE FOR

11   THAT.

12               BUT I NEED TO IMPOSE SOME KIND OF -- SOME KIND OF WAY

13   TO PROTECT MYSELF AGAINST HAVING TOO MUCH MOTION PRACTICE, AT

14   LEAST FOR THE NEXT FEW MONTHS.

15               I'M ALREADY WITHIN 30 DAYS OF THIS TRIAL, AND IT'S

16   NOT GOING TO GO AWAY.     IT'S A MAJOR PROBLEM, A MAJOR TIME

17   COMMITMENT.

18               SO ALL RIGHT.    SO CAN YOU DO A THREE-PAGE LETTER?

19               AND THEN, MR. JACOBS, YOU CAN FILE A THREE-PAGE -- NO

20   ATTACHMENTS. LOOK AT THIS (INDICATING).       I ASKED FOR -- LOOK AT

21   THIS (INDICATING).    I ASKED FOR A THREE-PAGE THING.       AND THIS IS

22   WHAT MORRISON & FOERSTER GAVE ME WITH FOUR INCHES.

23               JUST THREE PAGES, NO ATTACHMENTS. NO -- NOTHING BUT

24   JUST SUMMARY.   AND THEN, I CAN TELL WHETHER OR NOT THERE'S

25   ENOUGH PLAUSIBILITY.     AND ALSO WHY IT OUGHT TO BE HEARD NOW AS
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1    OPPOSED TO LATER.

2                AND THEN, IF IT'S -- I'M GOING ERR ON THE SIDE OF

3    LETTING YOU BRING IT.     BUT I GOT TO DO SOMETHING TO PROTECT MY

4    RESOURCES AGAINST BEING OVERSTRETCHED.

5                HOW ABOUT YOU, MR. JACOBS?      DO YOU HAVE ANY MOTIONS

6    YOU WANT TO BRING?

7                MR. JACOBS:    WE DON'T HAVE ANY EARLY MOTIONS

8    CONTEMPLATED, YOUR HONOR.

9                TWO POINTS OF CLARIFICATION.      WE DO HAVE TWO DATES

10   FOR A MARKMAN IN APRIL.

11               THE COURT:    WE'RE GOING TO GO AHEAD WITH THAT.       I'M

12   STILL COUNTING ON DOING THAT.

13               MR. JACOBS:    AND THEN, IF WE DO HAVE DISCOVERY ISSUES

14   AS OPPOSED TO SUBSTANTIVE MOTIONS --

15               THE COURT:    YES, YOU CAN STILL BRING THOSE.

16               MR. JACOBS:    THANK YOU.

17               THE COURT:    YOU CAN BRING THOSE.     BUT IF IT GETS OUT

18   OF HAND -- IT HASN'T YET.     BUT IF IT GOT OUT OF HAND, I WOULD

19   HAVE TO ASK A MAGISTRATE JUDGE TO HELP ME WITH THAT.         BUT I WAS

20   GOING TO TRY TO WORK THROUGH THE ONES YOU HAD TODAY.

21               AND, YOU KNOW, IT'S OKAY TO HAVE SOME DISCOVERY

22   DISPUTES. AND I VERY MUCH APPRECIATE YOU RESOLVING THESE. BUT IN

23   SOME CASES THE LAWYERS FIGHT OVER SO MANY THINGS I JUST CANNOT

24   DO IT ALL, AND I HAVE TO GET A MAGISTRATE JUDGE TO HELP ME.

25               BUT YOU DID GOOD TODAY. YOU SAVED YOUR SILVER BULLETS
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1    FOR A TIME WHEN BOTH SIDES PROBABLY NEED IT MORE.         SO GOOD FOR

2    YOU.

3                WELL, WHAT ELSE CAN I DO FOR YOU NOW THAT YOU ARE

4    HERE, OR CAN WE JUST BRING THIS TO AN END?

5                MR. JACOBS:    I THINK WE'RE DONE, YOUR HONOR.         THANK

6    YOU.

7                MR. WEINGAERTNER:     WE'RE DONE, YOUR HONOR.

8                THE COURT:    YOU CAME ALL THE WAY -- WHERE ARE YOU

9    LOCATED?

10               MR. WEINGAERTNER:     NEW YORK.

11               MR. BABER:    NEW YORK.

12               THE COURT:    ALL FOUR OF YOU ARE IN NEW YORK?

13               MR. BABER:    NO.   MR. SNYDER IS IN CHARLOTTE, NORTH

14   CAROLINA.

15               MR. HWANG IS DOWN IN MOUNTAIN VIEW AT GOOGLE.

16               AND I ACTUALLY SPLIT MY TIME BETWEEN ATLANTA AND NEW

17   YORK.

18               THE COURT:    SO DO WE HAVE A REPRESENTATIVE OF BOTH

19   GOOGLE HERE AS WELL AS ORACLE?

20               MR. WEINGAERTNER:     YES, YOUR HONOR.

21               THE COURT:    SO DID YOU BOTH GET TO SEE THE JURY ROOM?

22               MR. HWANG:    YOUR HONOR, I DID. THANK YOU FOR YOUR

23   HOSPITALITY.

24               THE COURT:    AND YOU, AS WELL?

25               MR. TEMKIN:    YOUR HONOR, I DID NOT GET TO SEE THE
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1    JURY ROOM.   I WAS ATTENDING A HEARING.

2                 THE COURT:    WELL, I'M GOING TO LET MR. JACOBS TAKE

3    YOU BACK THERE, BECAUSE I WANT YOU TO SEE WHERE THE FATE OF YOUR

4    COMPANIES WILL BE DECIDED.

5                 MR. TEMKIN:    THANK YOU VERY MUCH, YOUR HONOR.

6                 THE COURT:    AND I DO THIS BECAUSE I THINK LAWYERS

7    SOMETIMES THINK:

8                      "WELL, THIS IS GOING TO GO STRAIGHT FROM THAT

9                 LECTERN TO THE FEDERAL CIRCUIT."

10                NO. THERE'S AN IMPORTANT INTERMEDIATE STOP IN THERE,

11   IN THAT ROOM, WHERE YOU NEVER KNOW WHO IS GOING TO BE -- BUT I

12   HAVE GREAT FAITH IN OUR JURY SYSTEM.       BUT IT'S JUST PEOPLE,

13   ORDINARY PEOPLE WHO HAVE LIVES TO LEAD AND CHILDREN TO GET TO

14   SCHOOL IN THE MORNING.      AND THEY DRIVE IN HERE.     THEY LISTEN TO

15   THE EVIDENCE.   THEY GO IN THERE AND DECIDE YOUR CASE.

16                AND EVERYTHING, YOU KNOW.     SO IT SOMETIMES DRIVES

17   THAT POINT HOME FOR YOU TO SEE THE JURY ROOM.

18                SO, MR. JACOBS, I WANT YOU TO STAY BACK LONG ENOUGH

19   TO SHOW YOUR CLIENT THE JURY ROOM. IT'S A NICE JURY ROOM, BUT

20   THAT'S WHERE -- THAT'S THE INTERMEDIATE STOP BETWEEN HERE AND

21   THE FEDERAL CIRCUIT.

22                AND WHAT THEY DECIDE IS NOT REVIEWABLE, UNLESS THERE

23   IS INSUFFICIENT EVIDENCE. SO YOU HAVE TO GET ME TO MAKE A

24   MISTAKE. THAT'S REVIEWABLE, BUT MISTAKES BY THE JURY ARE VERY

25   HARD TO REVERSE.
       KATHERINE WYATT, OFFICIAL REPORTER, RPR, RMR         925-212-5224
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1                 ALL RIGHT. I THANK YOU BOTH. IT'S GREAT TO HAVE SUCH

2    TERRIFIC LAWYERS HERE IN THE COURTROOM.       AND HAVE A GREAT DAY.

3    THANK YOU.

4                 MR. JACOBS:   THANK YOU, YOUR HONOR.

5                 MR. WEINGAERTNER:    THANK YOU, YOUR HONOR.

6               (THEREUPON, THIS HEARING WAS CONCLUDED.)

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       KATHERINE WYATT, OFFICIAL REPORTER, RPR, RMR         925-212-5224
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1                               CERTIFICATE OF REPORTER

2             I, KATHERINE WYATT, THE UNDERSIGNED, HEREBY CERTIFY

3    THAT THE FOREGOING PROCEEDINGS WERE REPORTED BY ME, A CERTIFIED

4    SHORTHAND REPORTER, AND WERE THEREAFTER TRANSCRIBED BY ME INTO

5    TYPEWRITING; THAT THE FOREGOING IS A FULL, COMPLETE AND TRUE

6    RECORD OF SAID PROCEEDINGS.

7                I FURTHER CERTIFY THAT I AM NOT OF COUNSEL OR

8    ATTORNEY FOR EITHER OR ANY OF THE PARTIES IN THE FOREGOING

9    PROCEEDINGS AND CAPTION NAMED, OR IN ANY WAY INTERESTED IN THE

10   OUTCOME OF THE CAUSE NAMED IN SAID CAPTION.

11               THE FEE CHARGED AND THE PAGE FORMAT FOR THE

12   TRANSCRIPT CONFORM TO THE REGULATIONS OF THE JUDICIAL

13   CONFERENCE.

14                 IN WITNESS WHEREOF, I HAVE HEREUNTO SET MY HAND THIS

15   10TH DAY OF FEBRUARY, 2011.

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20                  /S/ KATHERINE WYATT

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       KATHERINE WYATT, OFFICIAL REPORTER, RPR, RMR         925-212-5224
